Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 1 of 13 Page ID #:287



 1   Douglas A. Axel (SBN 173814)
     daxel@sidley.com
 2   Sean A. Commons (SBN 217603)
     scommons@sidley.com
 3   James M. Perez (SBN 249842)
     james.perez@sidley.com
 4   Alexandria Daugherty (SBN 307684)
     adaugherty@sidley.com
 5   Alexandria V. Ruiz (SBN 313286)
     aruiz@sidley.com
 6   Waqas A. Akmal (SBN 316601)
     wakmal@sidley.com
 7   SIDLEY AUSTIN LLP
     555 West Fifth Street
 8   Los Angeles, CA 90013
     Telephone: +1 213 896 6023
 9   Facsimile: +1 213 896 6600
10   Jennifer Pasquarella (SBN 263241)
     jpasquarella@aclusocal.org
11   Adrienna Wong (SBN 282026)
     awong@aclusocal.org
12   Eva L. Bitran (SBN 302081)
     ebitran@aclusocal.org
13   ACLU FOUNDATION of SOUTHERN
     CALIFORNIA
14   225 W. Hospitality Ln., Ste. 302
     San Bernardino, CA 92408
15   Telephone: (909) 380-7505
     Facsimile: (213) 977-5299
16
     Attorneys for Plaintiff
17   Guadalupe Robles Plascencia
18                           UNITED STATES DISTRICT COURT
19         CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
20   GUADALUPE ROBLES PLASCENCIA,              Case No. 5:17-CV-02515-JGB-SP
21              Plaintiff,                     PLAINTIFF GUADALUPE ROBLES
                                               PLASCENCIA’S NOTICE OF
22        vs.                                  MOTION AND UNOPPOSED
                                               MOTION TO AMEND
23   UNITED STATES OF AMERICA; ICE             COMPLAINT; MEMORANDUM OF
     DOES 1-8; SAN BERNARDINO                  POINTS AND AUTHORITIES IN
24   COUNTY; SAN BERNARDINO                    SUPPORT THEREOF
     COUNTY SHERIFF’S DEPARTMENT;
25   and CALIFORNIA DOES 1-10,                 Assigned to: Hon. Jesus G. Bernal
26              Defendants.                    Date: August 13, 2018
                                               Time: 9:00 a.m.
27                                             Ctrm: 1
28

                  PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                         AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 2 of 13 Page ID #:288



 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that on August 13, 2018 at 9:00 a.m., or as soon
 3   thereafter as counsel may be heard, in Courtroom 1 of the above-entitled Court located
 4   at 3470 Twelfth Street, Riverside, CA, before the Honorable Jesus G. Bernal, Plaintiff
 5   Guadalupe Robles Plascencia will and does hereby move this Court for an order to
 6   amend her Complaint.
 7         This Motion is brought pursuant to Federal Rule of Procedure 15 and Local
 8   Rule 15-1, and is unopposed by Defendants San Bernardino County, the San
 9   Bernardino County Sheriff’s Department, and the United States of America.
10         This Motion is based upon this Notice of Motion, the attached Memorandum of
11   Points and Authorities and exhibits attached thereto, as well as the Declaration of
12   Alexandria V. Ruiz filed concurrently herewith, all documents, records and files of
13   this action and upon such oral and/or documentary evidence as may be properly
14   presented at or before the hearing.
15
16   Date: July 16, 2018                          SIDLEY AUSTIN LLP
17
                                                  By: /s/ Alexandria V. Ruiz
18                                                    Alexandria V. Ruiz
19
                                                  ACLU FOUNDATION of
20                                                SOUTHERN CALIFORNIA
21                                                By: /s/ Eva L. Bitran
22                                                    Eva L. Bitran
23                                                    Attorneys for Plaintiff
24                                                    Guadalupe Robles Plascencia
25
26
27
28

                    PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                           AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 3 of 13 Page ID #:289



 1                                           TABLE OF CONTENTS
 2                                                                                                                     Page
 3   I.     INTRODUCTION ............................................................................................... 1
 4   II.    BACKGROUND ................................................................................................. 2
 5   III.   LEGAL STANDARD ......................................................................................... 4
 6   IV.    ARGUMENT....................................................................................................... 5
 7          A.       Ms. Plascencia Has Acted Diligently, Not with Undue Delay ................. 5
 8          B.       Ms. Plascencia Seeks to Advance Her Cause in Good Faith .................... 6
 9          C.       Defendants Will Suffer No Prejudice From The Proposed
                     Amendment .............................................................................................. 6
10
            D.       Ms. Plascencia’s Amendment is Not Futile; It Will Permit
11                   Resolution on the Merits ........................................................................... 7
12   V.     CONCLUSION ................................................................................................... 8
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                              i
                       PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                              AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 4 of 13 Page ID #:290



 1                                         TABLE OF AUTHORITIES
 2   Cases                                                                                                       Page(s)
 3   AmerisourceBergen Corp. v. Dialysist West, Inc.,
       465 F.3d 946 (9th Cir. 2006) .................................................................................. 5
 4
 5   Balisteri v. Pacifica Police Dept.,
        901 F.2d 696 (9th Cir. 1988) .................................................................................. 4
 6
     DCD Programs, Ltd. v. Leighton,
 7
       833 F.2d 183 (9th Cir. 1987) .............................................................................. 5, 7
 8
     Eminence Capital, LLC v. Aspeon, Inc.,
 9     316 F.3d 1048 (9th Cir. 2003) ................................................................................ 5
10
     Foman v. Davis,
11     371 U.S. 178 (1962)........................................................................................ 4, 5, 7
12   Lockheed Martin Corp. v. Network Solutions, Inc.,
13      194 F.3d 980 (9th Cir. 1999) .............................................................................. 6, 7
14   Miller v. Rykoff-Sexton, Inc.,
        845 F.2d 209 (9th Cir. 1988) .................................................................................. 7
15
16   Morongo Band of Mission Indians v. Rose,
       893 F.2d 1074 (9th Cir. 1990) ................................................................................ 4
17
18   Sonoma Cty Ass’n of Retired Employees v. Sonoma Cty,
        708 F.3d 1109 (9th Cir. 2013) ................................................................................ 5
19
     Sorosky v. Burroughs Corp.,
20      826 F.2d 794 (9th Cir. 1987) .................................................................................. 6
21
     United States v. Corinthian Colleges,
22     655 F.3d 984 (9th Cir. 2011) .................................................................................. 4
23   United States v. Webb,
24     655 F.2d 977 (9th Cir. 1981) .................................................................................. 4
25   ///
26   ///
27   ///
28
                                                             ii
                         PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                                AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 5 of 13 Page ID #:291



 1   Other Authorities
 2
     Federal Rule of Civil Procedure 15 ..................................................................... 1, 4, 5
 3
     Federal Rule of Civil Procedure 26 ......................................................................... 2, 3
 4
     Federal Rule of Civil Procedure 37 ............................................................................. 3
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                           iii
                        PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                               AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 6 of 13 Page ID #:292



 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2         Plaintiff Guadalupe Robles Plascencia (“Ms. Plascencia”) moves to amend the
 3   complaint in this action in order to name individual defendants, the identities of whom
 4   were previously unknown and are currently named as ICE Does 1-8 and California
 5   Does 1-10. (See Dkt. No. 1 at 1.) A copy of the proposed First Amended Complaint
 6   is attached to this motion as Exhibit A, and the page and line numbers of the proposed
 7   changes are provided in Exhibit B. Defendants United States of America, San
 8   Bernardino County, and the San Bernardino County Sheriff’s Department
 9   (collectively, the “Defendants”) do not oppose this motion.
10   I.    INTRODUCTION
11         Ms. Plascencia moves to amend the complaint to name as individual defendants
12   the officers who wrongfully arrested and detained her in violation of her state and
13   federal rights. Ms. Plascencia’s motion should be granted because it satisfies the
14   lenient standard of Federal Rule of Civil Procedure 15, which provides that courts
15   “should freely give leave when justice so requires.” Fed. R. Civ. P. 15. All of the
16   requisite factors counsel in favor of amendment. Permitting amendment will not
17   cause undue delay of these proceedings; Ms. Plascencia is acting in good faith and
18   without dilatory motive; Defendants will suffer no prejudice due to the timing of the
19   proposed amendments; and the proposed amendments are not futile.
20         Ms. Plascencia diligently sought to learn the identities of the unnamed
21   individual defendants, making repeated requests of Defendants to obtain this
22   information. Upon recent receipt of this information, Ms. Plascencia moved swiftly.
23   In less than four days, she prepared an amended complaint, provided it to Defendants,
24   and requested a stipulation. San Bernardino County and the Sheriff’s Department
25   have since agreed to stipulate to such a filing; the United States has not. As a result,
26   Ms. Plascencia moves this court—without opposition from any of the Defendants 1—
27
     1
      By not opposing, Defendants reserve all rights to dispute or deny any of the claims
28   and allegations in the amended complaint.
                                            1
                    PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                           AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 7 of 13 Page ID #:293



 1   for leave to amend the Complaint in order to name individual defendants and ensure
 2   that her action is decided on the merits.
 3   II.   BACKGROUND
 4         Ms. Plascencia is a United States citizen whom officers and agents with the San
 5   Bernardino County Sheriff’s Department and ICE unlawfully detained. The troubling
 6   circumstances surrounding her arrest and detention, which serve as the basis for her
 7   claims, are set forth at length in the complaint. (See Dkt. No. 1, “Complaint.”) Ms.
 8   Plascencia asserts eleven counts against the United States, ICE Does 1-8, San
 9   Bernardino County, San Bernardino County Sheriff’s Department, and California
10   Does 1-10. (Id.) Of those eleven counts, Ms. Plascencia alleges a Bivens claim for
11   unreasonable seizure against ICE Does 1-8, and four state tort claims and two
12   constitutional claims against California Does 1-10. (Compl. ¶¶ 87-136.)
13         Although Ms. Plascencia did not know the identities of the Doe Defendants at
14   the time she filed the Complaint, she has diligently sought this information from San
15   Bernardino County, the Sheriff’s Department, and the United States (collectively,
16   “Defendants”) since. In January, Ms. Plascencia’s counsel wrote Defendants and
17   requested the names and contact information for the Doe Defendants. (Ruiz Decl.
18   ¶ 3.) She never received a formal response. (Id.) In March, during the conference
19   between Ms. Plascencia and counsel for the United States regarding the United States’
20   Motion to Dismiss, Ms. Plascencia requested for a second time, the names of ICE
21   Does 1-8. (Id. ¶ 4.) Counsel for the United States indicated that disclosure would not
22   occur unless and until the action reached discovery. (Id.)
23         In early April, the parties conferred as required under Federal Rule of Civil
24   Procedure 26(f). (Ruiz Decl. ¶ 5.) During that conference, Ms. Plascencia again
25   requested that Defendants disclose the identities of the respective Doe Defendants;
26   Defendants again refused on the ground that they should not have to provide her with
27   additional defendants. (Id.)
28         Upon exchange of the parties’ initial disclosures, the County disclosed the first
                                              2
                    PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                           AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 8 of 13 Page ID #:294



 1   initial and last name of individual officers, while the United States merely disclosed,
 2   as potential witnesses, Ms. Plascencia and her daughter. (Ruiz Decl. ¶ 7.) As she
 3   explained in the Joint Rule 26(f) Report, due to Defendants’ refusal to disclose this
 4   information in violation of this Court’s Order Setting Scheduling Conference and their
 5   obligations under Federal Rule of Civil Procedure 26(a)(1)(i), 2 Ms. Plascencia
 6   propounded written discovery to obtain the information. (Dkt. No. 37 at 2.)
 7            The parties appeared before the Court for their Scheduling Conference in late
 8   May. Ms. Plascencia’s counsel raised the Defendants’ failure to disclose the identities
 9   of the Doe Defendants with the Court. During that conference, the Court stated: “I
10   will allow some flexibility regarding the amendment of the complaint to include doe
11   defendants once they are identified, but I would urge the parties to move quickly to
12   identify who those persons are since there should be no dispute about who they are.”
13   (May 21 Hrg. Tr. 18:18-22.)
14            Heeding this admonition, the County subsequently supplemented its initial
15   disclosures and provided the full names of the officers involved in her arrest and
16   detention. (Ruiz Decl. ¶ 9.) The United States did not. Despite representing to the
17   Court that the United States would “identify [the Doe Defendants] the way they were
18   requested in written discovery” and that the United States “[was] ready to respond to
19   [Ms. Plascencia’s written discovery] properly,” (May 21 Hrg. Tr. 17:11-19), the
20   United States objected to each and every one of Plaintiff’s discovery requests and
21   refused to produce a single document. (Id. ¶ 9.)
22            Thereafter, Ms. Plascencia initiated the meet and confer process under Federal
23   Rule of Civil Procedure 37. (Ruiz Decl. ¶ 10.) During the subsequent in-person
24   conference, the United States agreed to produce the names of the Doe Defendants
25   subject to a modification of Ms. Plascencia’s discovery requests. (Id. ¶ 10.) The
26   United States disclosed the full names of seven ICE officials who came in contact
27   with her on March 30, 2017 in supplemental responses dated June 11, 2018. (Id.
28   2
         The United States disputes this.
                                                3
                      PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                             AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 9 of 13 Page ID #:295



 1   ¶ 11.) Ms. Plascencia requested Defendants stipulate to the filing of an amended
 2   complaint and provided Defendants with a proposed First Amended Complaint
 3   (“FAC”) on June 15, 2018. (Id.) Defendants requested and were granted extensions
 4   to respond to her request. (Id. ¶ 12.) On June 29, the United States indicated that it
 5   would be unable to stipulate to the filing of an amended complaint. Then, at the Rule
 6   7-3 conference regarding this motion on July 3, the United States indicated that it
 7   might not oppose the motion if provided the opportunity to review it before filing, and
 8   the County indicated that it would be willing to stipulate to the filing provided any
 9   amended complaint would be subject to all previously asserted defenses. (Id. ¶ 13.)
10   The United States thereafter maintained its position that it would not stipulate to the
11   filing of the FAC, but it agreed not to oppose this motion. (Id.)
12   III.   LEGAL STANDARD
13          “The standard for granting leave to amend is generous.” United States v.
14   Corinthian Colleges, 655 F.3d 984, 995 (9th Cir. 2011) (quoting Balisteri v. Pacifica
15   Police Dept., 901 F.2d 696, 701 (9th Cir. 1988)). Federal Rule of Civil Procedure
16   15(a)(2) articulates a policy in favor of amendment and provides that a court “should
17   freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). The Supreme
18   Court directs that “this mandate is to be heeded,” Foman v. Davis, 371 U.S. 178, 182
19   (1962), and the Ninth Circuit requires that “Rule 15’s policy of favoring amendments
20   to pleadings []be applied with extreme liberality.” United States v. Webb, 655 F.2d
21   977, 979 (9th Cir. 1981) (internal quotation marks and citation omitted); Morongo
22   Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990).
23          “Courts may decline to grant leave to amend only if there is strong evidence of
24   ‘undue delay, bad faith or dilatory motive on the part of the movant, repeated failure
25   to cure deficiencies by amendments previously allowed,[3] undue prejudice to the
26   opposing party by virtue of allowance of the amendment, [or] futility of
27
     3
      Since Plaintiff has not previously received leave from the Court to amend the
28   Complaint, Plaintiff will not address this factor in Part IV.
                                                4
                    PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                           AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 10 of 13 Page ID #:296



 1   amendment . . . .’” Sonoma Cty Ass’n of Retired Employees v. Sonoma Cty, 708 F.3d
 2   1109, 1117 (9th Cir. 2013) (quoting Foman, 371 U.S. at 182). However, “[p]rejudice
 3   is the ‘touchstone of the inquiry under Rule 15(a),’” and “carries the greatest weight.”
 4   Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003). “The
 5   party opposing amendment bears the burden of showing prejudice,” DCD Programs,
 6   Ltd. v. Leighton, 833 F.2d 183, 187 (9th Cir. 1987), and absent prejudice, or a strong
 7   showing on the other factors, “there exists a presumption under Rule 15(a) in favor of
 8   granting leave to amend.” Eminence, 316 F.3d at 1052 (emphasis in original).
 9   IV.   ARGUMENT
10         Ms. Plascencia’s motion should be granted because all of the factors counsel in
11   favor of amendment, satisfying the lenient standard under Federal Rule of Civil
12   Procedure 15. She reasonably seeks to amend the Complaint to name as individual
13   defendants the officers who wrongfully arrested and detained her in violation of her
14   state and federal rights.
15         A.     Ms. Plascencia Has Acted Diligently, Not with Undue Delay.
16         In evaluating undue delay, a court must consider the timeliness of the motion
17   under the Rule 16 Scheduling Order, and “whether the moving party knew or should
18   have known the facts and theories raised by the amendment in the original pleading.”
19   AmerisourceBergen Corp. v. Dialysist West, Inc., 465 F.3d 946, 953 (9th Cir. 2006).
20   Here, Ms. Plascencia’s motion is timely in both respects. First, she petitions for leave
21   to amend the Complaint within the period of time provided by this Court in the
22   Scheduling Order. The last day to stipulate to amend or to file a motion to amend
23   pleadings or add new parties is August 6, 2018, (Dkt. No. 43), and this motion is
24   being filed at least three weeks in advance of that deadline. Second, Ms. Plascencia
25   did not know the facts underlying this amendment at the time she filed this action. As
26   she stated in the Complaint, ICE Does 1-8 and California Does 1-10 were individuals
27   whose identities were unknown to her at the time of filing. (Compl. ¶¶ 10, 12.) The
28   identities of the Doe Defendants were disclosed through discovery, (Ruiz Decl. ¶¶ 9,
                                              5
                    PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                           AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 11 of 13 Page ID #:297



 1   11), and Ms. Plascencia moved to name these individual defendants as soon as
 2   practicable. (Id. ¶¶ 11-13.)
 3         B.     Ms. Plascencia Seeks to Advance Her Cause in Good Faith.
 4         Ms. Plascencia has diligently sought to discover the identities of the Doe
 5   Defendants since filing this action, negotiating to resolution the disclosure of such
 6   information by Defendants. (Ruiz Decl. ¶¶ 3-12.) Ms. Plascencia’s proposed
 7   amendments are based upon the best available information obtained to date based on
 8   discovery and meeting and conferring with Defendants.
 9         Defendants do not and cannot present any compelling evidence of bad faith
10   conduct by Ms. Plascencia. Moreover, the circumstances here are clearly
11   distinguishable from those where bad faith has been found. See, e.g., Lockheed
12   Martin Corp. v. Network Solutions, Inc., 194 F.3d 980, 986 (9th Cir. 1999) (noting
13   that the plaintiff’s request to amend complaint after discovery had closed suggested
14   bad faith conduct); Sorosky v. Burroughs Corp., 826 F.2d 794 (9th Cir. 1987) (finding
15   bad faith conduct by plaintiff seeking to add defendant to destroy diversity, and thus
16   jurisdiction, of the court). Upon learning the identities of the Doe Defendants,
17   Ms. Plascencia immediately sought a stipulation from all parties to file an amended
18   complaint. (Id. ¶ 11.) As explained above, while the County and Sheriff’s
19   Department agreed, the United States did not. (Id. ¶ 12.) The United States does not,
20   however, oppose this motion. (Id. ¶ 13.)
21         C.     Defendants Will Suffer No Prejudice From The Proposed
22                Amendment.
23         Defendants will suffer no prejudice from Ms. Plascencia’s proposed
24   amendments to the Complaint. The information Ms. Plascencia needed to amend the
25   Complaint has always been within the possession of Defendants. Defendants should
26   have reasonably anticipated this amendment in light of her administrative claims, her
27   correspondence requesting this information, the Complaint, and her repeated requests
28   for the identities of the Doe Defendants since filing this action.
                                               6
                    PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                           AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 12 of 13 Page ID #:298



 1         D.     Ms. Plascencia’s Amendment is Not Futile; It Will Permit Resolution
 2                on the Merits.
 3         A proposed amended pleading is futile “[w]here the legal basis for a cause of
 4   action is tenuous,” Lockheed Martin Corp., 194 F.3d at 986, or “if no set of facts can
 5   be proved under the amendment to the pleadings that would constitute a valid and
 6   sufficient claim or defense.” Miller v. Rykoff-Sexton, Inc., 845 F.2d 209, 214 (9th Cir.
 7   1988). “Where the underlying facts or circumstances of a case ‘may be a proper
 8   subject of relief, [a plaintiff] ought to be afforded an opportunity to test [her] claims
 9   on the merits.’” DCD Programs, 833 F.2d at 188 (quoting Foman, 371 U.S. at 182).
10         Here, Ms. Plascencia’s proposed amendment is not futile. Her amendments are
11   merely to name the individual defendants whose identities were previously unknown
12   to her. The claims she asserts remain the same, and the facts alleged are more than
13   sufficient to state a claim, at this stage, against each proposed individual defendant.
14   This Court already has found her claims against the United States—the employer of
15   ICE Does 1-8—sufficient to survive a motion to dismiss, and the claims against the
16   Doe Defendants rely on the same facts. (Dkt. No. 45).4
17         In sum, none of the factors counseling against permitting an amended pleading
18   exist here. The liberal policy favoring amendment applies and provides that leave to
19   amend be granted.
20   ///
21   ///
22   ///
23
24
25
26
     4
      The Court dismissed Plaintiff’s Bane Act claim to the extent it was based on federal
27   constitutional violations, but held that she sufficiently stated a Bane Act claim where
     her allegations were premised on violations of the California Constitution. (See Dkt.
28   No. 45.)
                                                7
                    PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                           AND UNOPPOSED MOTION TO AMEND COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 49 Filed 07/16/18 Page 13 of 13 Page ID #:299



 1   V.    CONCLUSION
 2         For the reasons set forth above and in the interests of justice, the motion should
 3   be granted. Ms. Plascencia respectfully requests leave to amend the Complaint.
 4
 5   Date: July 16, 2018                          SIDLEY AUSTIN LLP
 6
                                                  By: /s/ Alexandria V. Ruiz
 7                                                    Alexandria V. Ruiz
 8
                                                  ACLU FOUNDATION of
 9                                                SOUTHERN CALIFORNIA
10                                                By: /s/ Eva L. Bitran
11                                                    Eva L. Bitran
12                                                    Attorneys for Plaintiff
13                                                    Guadalupe Robles Plascencia
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              8
                   PLAINTIFF GUADALUPE ROBLES PLASCENCIA’S NOTICE OF MOTION
                          AND UNOPPOSED MOTION TO AMEND COMPLAINT
